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                          UNITED STATES BANKRUPTCY COU RT
                           SOUTHERN DISTRICT OF FLO RID A

In re:                                                Case No. 16-25954-BKC-LMI
                                                      Chapter 7
Jorge Hane,

          Debtor
___ ___ ___ ___ ___ ___ ___ ___ __!

Blue Bank International, N.Y.;                         ADV. NO. 17-01234-BKC-LMI
Coltefinanciera, S.A.

          Plaintiffs,
vs.

 Jorge Hane,

       Defendant.
 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___!

                               PLAINTIFF'S EXHIBIT REG IST ER

  Exhibits Submitted on beha lf of:
                                                 (   ] Debtor            [     ] Other_ _ _ _ _ _ _ _ __
   [X] Plaintiff          [   ] Defendant
                                                                     •
                                                                                 plaint (D.E. #32)
   Type of Hearing/Trial:     Counts II and III ofth e Plain tiff's Ame nded Com

   SUBMITTED BY:

                                                                Brian J. Recor, Esq.
   Thomas R. Lehman, P .A.
                                              LLP               Recor Rieber, P.A.
   Levine Kdlo gg Lehman Schneider + Grossman
                                           r                    701 Brickell Avenue, Suite 2280
   201 South Biscayne Boulevard, 22nd Floo
                                                                Miami, FL 33131
   Miami, FL 33131
                                                                Tel. No. (305) 988-8002
   Tel. No. (305) 403-8788


                                                                    Admitted Refused           Not
      Exhibit                     Description
                                                                                           Introduced
       Letter
      A          2013 US Individual Income Tax Return for
                 Jorge Hane and Florencia Hane
                                                                      A
      B          2014 US Individual Income Tax Return for            A
                 Jorge Hane and Florencia Hane




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      c        2015 US Individual Income Tax Return for
               Jorge Hane and Florencia Hane                           A
      D        2016 US Individual Income Tax Return for
               Jorge Hane and Floren cia Hane
      E        2013 US Income Tax Return for an S
               Co~oration for JorgeHane Laboratories Corp.          f)
      F        2014 US Income Tax Return for an S
               Corporation for JorgeHane Laboratories Corp.         It
     G         2015 US Income Tax Return for an S
               CorQ_oration for JorgeHane Laboratories Corp.        A
     H         2016 US Income Tax Return for an S
               Cot]Joration for JorgeHane Laboratories Corp.
     I         Deposition of Jorge Hane taken on April 5,
               2018
     J         Deposition of Floren cia Hane taken on March
               21,2018
     K         State of Florida Department of State 2012
              through 2015 Annual Reports for JorgeHane
              Holdings, LLC
                                                                    /1
     L         State of Florida Department of State 2012
              through 2015 Annual Reports for                     f}
              LatinoShopping Corp.
     M        Response to Blue Bank International, N.V. and
              Coltefinanciera, S.A.'s Cross-Notice of2004
              Examination Duces Tecum of Debtor, Jorge
              Hane, Without Examination
                                                                   A
     N        Email from Sam Capuano to Brian Recor dated
              3/13/2017 re: Notice of Examination Jorge
              Hane
                                                                ;+
     0        Email from Jason Rigoli to Brian Recor dated
              3/13/2017 re: Jason Rigoli shared "Hane, Jorge
              - 1625954" with _you                                A
     p        Financial Statements for Jorge Hane
              Laboratories Colombia S.A.S. for the year end     !i
              December 31,2013 and 2012, BDO-                  (It~
              HANE00443 1- BDO-HANE004565                        ~)
     Q        Balance Sheet Prev Year Comparison (20 13 -
              2014) for JorgeHane Laboratories Corp. as of     p         .
                                                               (l,,.,.,..W
              December 31,2014 BDO-HANE 002082-
              BDO-HANE00284                                      ~)




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     R        Profit & Loss Prev Year Comparison (20 13 -
              2014) for JorgeHane Laboratories Corp. as of
              December 31, 2014 BDO-HANE002129-                  ~
              BDO-HANE002132                                   ~~'          .
     s        AlP Aging summary (Values in Home Currency
              as of December 31, 2014 FOR JorgeHane
              Laboratories Corp. BDO-HANE002103-
                                                                  A
              BDO-HANE0021 04                                  (~)
     T        Financial Statements for December 31, 2013
              and December 31, 2014 for JorgeHane
              Laboratories Colombia S.A.S. BDO-
              HANE002085- BDO-HANE002102
                                                               cL
                                                               ~5£).
     u        General Ledger excerpt, 2014 Statement of
              Distributions to Debtor from JorgeHane           A
              Laboratories Colombia S.A.S.                        b.:........~)
                                                               a.IM.w
     v        Ricardo Zurlo CFO email of Summary of2014
                                                               A
                                                                        I


              Foreign Bank Account Balances of JorgeHane
              Laboratorties subsidiaries BDO-HANE002058        {~)
              and BDO-HANE004008
     w        Balance Sheet - Form 54 71 - J orgeHane           A
              Laboratories SA Argentina for 12/3 1/20 14 for   (~
              JorgeHane Laboratories Corp. BDO-                ~·l&o)
              HANE002249
     X        2014 Financial Statement for year end
              December 31, 2014 for JorgeHane Laboratories
                                                               ~ ..
                                                               (J,~Mfd
              S.A.- Argentina BDO-HANE004051 - BDO-
              HANE004064                                        IMP'"~
     y        2014 Financial Statements for December 31,
              2014 for JorgeHane Laboratories Colombia
                                                               A
              S.A.S.BDO-HANE002216- BDO-                       (~,d/)
              HANE002219
                                                                N'~                 .
    z         2014 Monthly Operating Statement for
              JorgeHane Laboratories Colombia S.A.S. BDO-      ff_fi
                                                               a.~.~.~.                 ....~)
     AA
              HANE002220 BDO-HANE002222
              General Ledger excerpt, 2014 List of Payments
                                                                                .
              of Shareholder's Personal Expenses year end
              December 31, 2014 of J orgeHane Laboratories      ~
              Corp. BDO-HANE002248
     BB       2015 Balance Sheet as of December 31, 2015
              for JorgeHane Laboratories Corp. BDO-
              HANE000445- BDO-HANE000447
                                                                   ft
     cc       2015 Profit & Loss January through December
              2015 for J orgeHane Laboratories Corp. BDO-
              HANE000458- BDO-HANE000461
                                                                  A
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 DD       General Ledger excerpt, Reclassify to
          Shareholder Loan Personal Use Year End:
          December 31, 2015 for JorgeHane Laboratories
          Corp. BDO-HANE000454
                                                           A
 EE       Financial Statement Comparison 2015 & 2014
          on December 31, 2015 for J orgeHane
          Laboratories Colombia S.A.S.                    lL~D
 FF       Email from J@jorgehanelab.com to Jeffrey
          Weiss dated 3/15/2016 Re: bad news BDO-
          HANE001817
                                                             jL(
 GG       Balance Sheet as of December 16, 2016 for
          JorgeHane Laboratories Corp. BDO-
          HANE001759- BDO-HANE001760
 HH       Profit & Loss January through December 2016
          for JorgeHane Laboratories Corp. BDO-
          HANE001477- BDO-HANE001479
 II       General Ledger excerpt, Reclassify to
          Distributions - Personal Use Year End
          December 31, 2016 for J orgeHane Laboratories
          BDO-HANE000719
 JJ       PlaintiffBlue Bank International, N.Y.'s
          Request for Production of Documents dated
          January 26, 2018
 K.K      Plaintiff Coltefinanciera~.s Request for
          Production of Documents dated January 26,
          2018
 LL       Notice of Examination Duces Tecum of the
          Debtor, Jorge Hane, Without Examination dated
          January 31,2017
                                                                 A
MM        United States Patent and Trademark Office
          Notice of Recordation of Assignment Document
          dated July 19,2016
                                                            A
NN        Summary Index of documents contained in
          Dropbox that are responsive to request 2, 30,
          32, 33 and 36
                                                            A
 00       Debtor's Notes on Documents which were
          produced to Trustee                               A
 pp       Corporate Chart                                   f\
 QQ       Plaintiffs Notice oflntent to Serve Subpoena
          Duces Tecum                                    . A
 RR       All documents listed by Defendant and not
          objected to by Plaintiffs
 ss       Debtor's Statement of Financial Affairs [ECF
          No.lO]- Judicial Notice                           A
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